     Case 2:22-cv-01656-DAD-JDP Document 42 Filed 05/20/24 Page 1 of 5


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10                             IN THE UNITED STATES DISTRICT COURT

11                           FOR THE EASTERN DISTRICT OF CALIFORNIA

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     HINDU AMERICAN FOUNDATION, INC.,                           2:22-CV-01656-DAD-JDP
15   a Florida Not-For-Profit Corporation;
     SAMIR KALRA; MIHIR MEGHANI;                                REQUEST FOR JUDICIAL NOTICE IN
16   SANGEETHA SHANKAR; DILIP AMIN,                             SUPPORT OF DEFENDANT’S MOTION
     SUNDAR IYER, RAMANA KOMPELLA                               TO DISMISS FIRST AMENDED
17   as individuals; and DOE PLAINTIFFS ONE                     COMPLAINT PURSUANT TO
     TO THREE,                                                  YOUNGER ABSTENTION DOCTRINE,
18                                                              RULE 12(b)(1), AND RULE 12(b)(6)
                                              Plaintiffs,
19
                    v.
20                                                              Date:        August 20, 2024
                                                                Time:        1:30 p.m.
21   KEVIN KISH, an individual, in his official                 Judge:       Hon. Dale A. Drozd
     capacity as Director of the California Civil
22   Rights Department; and DOES 1-50,                          Action Filed: September 20, 2022
     inclusive,                                                 First Am. Compl Filed: September 21, 2023
23
                                            Defendants.
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      Request for Judicial Notice in Support of Defendant’s Motion to Dismiss First Am. Complaint (2:22-CV-01656)
     Case 2:22-cv-01656-DAD-JDP Document 42 Filed 05/20/24 Page 2 of 5


 1                                               INTRODUCTION

 2           Defendant Kevin Kish, in his official capacity as the Director of the California Civil

 3   Rights Department (the “Department”), respectfully requests that this Court take judicial notice of

 4   nine filings in the state court case cited by Plaintiffs in their First Amended Complaint (ECF No.

 5   21 ¶ 58), in accordance with Federal Rule of Evidence 201 (“Rule 201”) and the doctrine of

 6   incorporation by reference. These filings, described below, are provided as Exhibits A-I to the

 7   concurrently filed Declaration of Carly J. Munson in Support of Motion to Dismiss First

 8   Amended Complaint and Request for Judicial Notice (“Munson Decl.”).

 9                                       MATTERS TO BE NOTICED

10         Director Kish respectfully requests that this Court take judicial notice of the following

11   documents:

12         1.     Exhibit A: The Department’s Motion for Leave to Amend First Amended Complaint

13   and to File Second Amended Complaint, which was filed in Santa Clara County Superior Court in

14   CRD v. Cisco Systems, Inc. (Case No. 20-cv-372366) on December 11, 2023. (Munson Decl.

15   ¶ 10, Exh. A).

16         2.     Exhibit B: The Santa Clara County Superior Court’s order granting the Department’s

17   Motion for Leave to Amend First Amended Complaint and to File Second Amended Complaint,

18   which was issued in the above-referenced matter on March 15, 2024. (Munson Decl. ¶ 10,

19   Exh. B).

20         3.     Exhibit C: The Department’s operative Second Amended Complaint against Cisco

21   Systems, Inc., which was filed in the above-referenced matter on March 18, 2024, and is

22   referenced in Plaintiffs’ First Amended Complaint (ECF No. 21 ¶ 58). (Munson Decl. ¶ 10,

23   Exh. C).

24         4.     Exhibit D: Plaintiff HAF’s Reply in Support of HAF’s Motion for Leave to

25   Intervene, which was filed in the above-referenced matter on November 6, 2023. (Munson Decl.

26   ¶ 11, Exh. D).

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       Request for Judicial Notice in Support of Defendant’s Motion to Dismiss First Am. Complaint (2:22-CV-01656)
     Case 2:22-cv-01656-DAD-JDP Document 42 Filed 05/20/24 Page 3 of 5


 1         5.      Exhibit E: The Santa Clara County Superior Court’s order denying Plaintiff HAF’s

 2   Motion for Leave to Intervene in CRD v. Cisco, which was issued in the above-referenced matter

 3   on January 31, 2024. (Munson Decl. ¶ 12, Exh. E).

 4         6.      Exhibit F: Plaintiff HAF’s Notice of Appeal of the Superior Court’s January 31,

 5   2024 order denying its Motion for Leave to Intervene in CRD v. Cisco, which was filed in the

 6   above-referenced matter on March 29, 2024. (Munson Decl. ¶ 13, Exh. F).

 7         7.      Exhibit G: Plaintiff HAF’s Abandonment of Appeal of the Superior Court’s January

 8   31, 2024 order denying its Motion for Leave to Intervene in CRD v. Cisco, which was filed in the

 9   above-referenced matter on May 1, 2024. (Munson Decl. ¶ 13, Exh. G).

10         8.      Exhibit H: The Department’s Request for Dismissal of Sundar Iyer and Ramana

11   Kompella from CRD v. Cisco with prejudice, which was filed in the above-referenced matter on

12   April 6, 2023. (Munson Decl. ¶ 14, Exh. H).

13         9.      Exhibit I: Notice of Entry of Dismissal and Proof of Service, dismissing Mr. Iyer and

14   Mr. Kompella from CRD v. Cisco with prejudice, which was filed in the above-referenced matter

15   on April 11, 2023. (Munson Decl. ¶ 14, Exh. I).

16                                             LEGAL STANDARD

17           A court “must take judicial notice if a party requests it and the court is supplied with the

18   necessary information.” Fed. R. Evid. 201(c)(2). This Court can judicially notice any “fact that

19   is not subject to reasonable dispute because it . . . can be accurately and readily determined from

20   sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b)(2). In other

21   words, “the fact must be one that only an unreasonable person would insist on disputing.” United

22   States v. Jones, 29 F.3d 1549, 1553 (11th Cir. 1994). Only relevant facts may be judicially

23   noticed. See Milton H. Greene Archives, Inc. v. Marilyn Monroe LLC, 692 F.3d 983, 991 n.8 (9th

24   Cir. 2012).

25                                                 DISCUSSION

26         This Court may take judicial notice of related lawsuits. In re Korean Air Lines Co., Ltd.,

27   642 F3d 685, 689, fn. 1 (9th Cir. 2011). Further, this Court may take judicial notice of court

28   filings and other matters of public record. Reyn’s Pasta Bella, LLC v. Visa USA, Inc., 442 F.3d
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       Request for Judicial Notice in Support of Defendant’s Motion to Dismiss First Am. Complaint (2:22-CV-01656)
     Case 2:22-cv-01656-DAD-JDP Document 42 Filed 05/20/24 Page 4 of 5


 1   741, 746 n.6 (9th Cir. 2006). Under the doctrine of incorporation by reference, this Court may

 2   also consider documents “whose contents are alleged in a complaint and whose authenticity no

 3   party questions, but which are not physically attached to the pleading.” Casault v. Fed. Nat.

 4   Mortg. Ass’n, 915 F. Supp. 2d 1113, 1120 (C.D. Cal. 2012) (citing Branch v. Tunnell, 14 F.3d

 5   449, 454 (9th Cir. 1994)).

 6         The Court should take judicial notice of the documents provided as Exhibits A-I because

 7   they are filings in a related state court case (CRD v. Cisco Systems, Inc. (Case No. 20-cv-372366)

 8   and are relevant to the legal grounds supporting Director Kish’s Motion to Dismiss Plaintiffs’

 9   First Amended Complaint. For example, Plaintiffs HAF, Iyer, and Kompella’s asserted positions

10   in and connections to CRD v. Cisco as former proposed plaintiff-intervenor and defendants,

11   respectively, are directly relevant to issues raised in Director Kish’s Motion.

12         Moreover, Plaintiffs themselves have put the Department’s lawsuit against Cisco directly at

13   issue in the matter at hand. (See ECF No. 21, passim). Indeed, Plaintiffs explicitly reference

14   CRD v. Cisco in their First Amended Complaint (id. ¶ 58) and attached an earlier version of the

15   Department’s state court complaint against Cisco as an exhibit to its own lawsuit (id., Exh. A).

16   And Plaintiffs seek a remedy from this Court with the apparent intent of affecting the course the

17   Department’s State Action, which is still pending in state court. (Id. at 35).

18         Accordingly, the state court filings listed above are both relevant and appropriate for this

19   Court’s judicial notice in accordance with Rule 201 and the doctrine of incorporation by

20   reference.

21                                                 CONCLUSION

22         For the reasons stated herein, the Department’s request for judicial notice of the specified

23   filings in the related state court case, CRD v. Cisco (Case No. 20-cv-372366), should be granted

24   pursuant to Rule 201.

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       Request for Judicial Notice in Support of Defendant’s Motion to Dismiss First Am. Complaint (2:22-CV-01656)
     Case 2:22-cv-01656-DAD-JDP Document 42 Filed 05/20/24 Page 5 of 5


 1   Dated: May 20, 2024                                       Respectfully submitted,

 2                                                             ROB BONTA
                                                               Attorney General of California
 3                                                             MICHAEL NEWMAN
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 4                                                             WILLIAM H. DOWNER
                                                               Supervising Deputy Attorney General
 5

 6                                                             /s/ Carly J. Munson       ___________
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 7                                                             JENNIFER M. SOLIMAN
                                                               Deputy Attorneys General
 8                                                             Attorneys for Defendant Kevin Kish,
                                                               Director of the California Civil Rights
 9                                                             Department

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      Request for Judicial Notice in Support of Defendant’s Motion to Dismiss First Am. Complaint (2:22-CV-01656)
